                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

  MENACHEM LANGER,

         Plaintiff,
                                                       Civil Action No. 3:22-cv-138
  v.
                                                       JURY DEMANDED
  TENNESSEE BOARD OF LAW
  EXAMINERS, and TENNESSEE
  SUPREME COURT,

         Defendants.


                             RESPONSE TO MOTION TO DISMISS

         Plaintiff Menachem Langer (“Langer”), by and through undersigned counsel, responds to

  the Motion to Dismiss filed by the Tennessee Board of Law Examiners (“TBLE”) and the

  Tennessee Supreme Court (“TSC”) (collectively, the “Defendants”). Defendants’ motion should

  be denied because Defendants’ Rooker-Feldman and Eleventh Amendment arguments are moot in

  light of the Amended Complaint. In support hereof, Langer shows as follows:

                                 PROCEDURAL BACKGROUND

         The Complaint in this matter was filed on April 18, 2022. See (ECF Doc. 1). The

  Complaint initially requested relief for Langer based on the TBLE’s treatment of him in his

  application process to the Tennessee Bar, and was filed under a pseudonym to protect his

  identity. See id. On June 7, 2022, Defendants filed a Motion to Dismiss arguing that this Court

  lacked subject matter jurisdiction over the Complaint on the basis that it was barred by the

  Rooker-Feldman doctrine and the Eleventh Amendment. See (ECF Doc. 14). On June 10, 2022,

  Langer filed a Motion for Extension of Time, which was granted, and a Motion for Leave to

  Proceed Under a Pseudonym. See (ECF Doc. 18; Doc. 19). The Motion for Leave was denied

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  by Memorandum and Order of the Court on July 25, 2022, which ordered Langer to “file an

  amended Complaint containing his full name within ten (10) days of this Order.” See (ECF Doc.

  28). Langer filed his Amended Complaint on August 4, 2022. See (ECF Doc. 31). In addition

  to using his full name, the Amended Complaint also revised the requested damages to remove

  monetary damages and request strictly prospective relief. Id.

                                          LEGAL STANDARD

          On a motion to dismiss for failure to state a claim, a court “must construe the complaint

  in the light most favorable to the plaintiff and accept all allegations as true.” Keys v. Humana,

  Inc., 684 F.3d 605, 608 (6th Cir. 2012). “To survive a motion to dismiss, a complaint must

  contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

  face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content

  that allows the court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged.” Iqbal, 556 U.S. at 678. Specific facts are not necessary; the statement

  need only give the defendant fair notice of what the claim is and the grounds upon which it

  rests. Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing Twombly, 550 U.S. at 555).

          For a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) due to the Rooker-Feldman

  doctrine, a challenge can be either a facial or a factual attack. Tubbs v. Long, 2022 U.S. Dist.

  LEXIS 29588 at *7 (M.D. Tenn. 2022). Where the abstention argument springs from the

  complaint itself, the court may construe it as a facial attack. Id. (quoting Kings v. CitiMortgage,

  Inc., No. 2:10-cv-01044, 2011 U.S. Dist. LEXIS 79722, 2011 WL 2970915, *5 (S.D. Ohio July

  20, 2011)).




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                                              ARGUMENT

      I.      In light of the amendments to the Complaint, this Court’s jurisdiction is proper
              and the Rooker-Feldman doctrine no longer applies.

           On August 4, 2022, an Amended Complaint was filed in this matter, which seeks

  prospective relief for Langer. See (ECF Doc. 31). The Amended Complaint cured any issues which

  might subject Plaintiff’s claims to the Rooker-Feldman doctrine and deprive this Court of subject

  matter jurisdiction over Langer’s claims.

           Specifically, the Amended Complaint challenges the Defendants’ unconstitutionally and/or

  impermissibly vague “fitness to practice law” standard in Tennessee Supreme Court Rule 7,

  Section 6.01, and its discriminatory application against individuals like Langer. See id. at ¶¶ 67-

  74. The Amended Complaint calls out the Defendants’ construction of the vague “fitness to

  practice law” standard as discriminatory under the ADA, and identifies how its construction has

  prevented Langer and other similarly situated applicants from admission to the Tennessee Bar.

  See id. at ¶ 72. The relief requested in the Amended Complaint is a declaration from this Court

  that the character and fitness standard in Tennessee Supreme Court Rule 7, Section 6.01,

  specifically, the phrase “fitness to practice law,” is unconstitutionally and/or impermissibly vague.

  See id. at ¶ 92.

           The Rooker-Feldman doctrine bars district courts from conducting appellate review of

  final, state court judgments, “because 28 U.S.C. § 1257 vests sole jurisdiction to review such

  claims in the Supreme Court.” Vanderkodde v. Mary Jane M. Elliott, P.C., 951 F.3d 397, 402 (6th

  Cir. 2020).1




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   According to current jurisprudence, a state court judgment for the purposes of this case includes
  bar-admissions decisions. See Blanton v. United States, 94 F.3d 227 (6th Cir. 1996). It will be
  Plaintiff’s contention in this lawsuit that the holding in Blanton should be modified.
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          The Feldman decision, one of two cases on which the doctrine is based, held specifically

  that district courts lacked subject matter jurisdiction over a complaint to the extent that a bar

  applicant sought review of a state court’s denial of a petition related to bar admission. D.C. Court

  of Appeals v. Feldman, 460 U.S. 462 (1983). However, the Court distinguished between district

  court reviews of a state court decision, and a district court evaluating a general attack on the

  constitutionality of bar admission rules, finding the district courts did not lack jurisdiction in the

  latter instance. Id. at 485 (quoting Doe v. Pringle, 550 F.2d 596 (10th Cir. 1976) (“while federal

  courts do exercise jurisdiction over many constitutional claims which attack the state's power to

  license attorneys involving challenges to either the rule-making authority or the administration of

  the rules, . . . such is not true where review of a state court's adjudication of a particular application

  is sought.”)). The Supreme Court held, “United States district courts, therefore, have subject-

  matter jurisdiction over general challenges to state bar rules, promulgated by state courts in

  nonjudicial proceedings, which do not require review of a final state-court judgment in a particular

  case.” Id. at 487.

          While the original Complaint requested the type of relief potentially barred by Rooker-

  Feldman, the Amended Complaint seeks relief for an unconstitutionally and/or impermissibly

  vague bar admission criterion in the character and fitness exam. Langer is no longer challenging

  a law’s application to a particular state case but is generally challenging the constitutionality and

  application of the state law applied in the state action, to prevent the same discrimination the next

  time he applies to be licensed in Tennessee. Raymond v. Moyer, 501 F.3d 548, 551 (6th Cir. 2007)

  (“Notably, the Rooker-Feldman doctrine does not prohibit federal district courts from exercising

  jurisdiction where the plaintiff's claim is merely a general challenge to the constitutionality of the

  state law applied in the state action, rather than a challenge to the law's application in a particular



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  state case.”) (cleaned up). Therefore, Defendants’ argument that Langer’s claims are barred by

  Rooker-Feldman is now moot.

     II.      Sovereign immunity is not applicable here, because Langer is not seeking
              monetary relief against the State of Tennessee.

           The Eleventh Amendment bars suits for damages or injunctive relief against state actors,

  but Eleventh Amendment “immunity does not preclude issuance of prospective injunctive relief

  where such relief is premised upon [a] federal constitutional violation and not upon state law.”

  Tate v. Frey, 735 F.2d 986 (6th Cir. 1984); see also Cicchini v. Blackwell, 127 Fed. Appx. 187

  (6th Cir. 2005). In Ex Parte Young, the Supreme Court carved out an exception to claims against

  state officials in their official capacities. Saqr v. Univ. of Cincinnati, 2020 U.S. Dist. LEXIS

  163394 at *20 (S.D. Ohio 2020) (citing Ex parte Young, 209 U.S. 123, 28 S. Ct. 441, 52 L. Ed.

  714 (1908)). To trigger the exception, two elements must be met: “the plaintiff’s action must seek

  prospective relief that ends a continuing violation of federal law. And, second, the defendant-state

  officials must have ‘some connection’ to that ongoing violation.” Saqr, 2020 U.S. Dist. LEXIS

  163394 at *20.

           In Doe v. Supreme Court of Ky., 482 F. Supp. 3d 571, 584 (W.D. Ky 2020), the District

  Court in the Western District of Kentucky analyzed how an individual may challenge the

  constitutionality of the bar application process, and concluded that: “The answer is that a

  plaintiff could sue for prospective relief—a declaration that the questions violate federal law and

  an injunction prohibiting the Bar Bureaucracy from asking them. To have standing, the plaintiff

  would need to be a bar applicant. . . .” Id. at 584.

           Langer’s Amended Complaint does not seek monetary damages. It seeks a declaration

  from this Court that the character and fitness standard in Tennessee Supreme Court Rule 7,

  Section 6.01, specifically, the phrase “fitness to practice law,” is unconstitutionally and/or

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  impermissibly vague. This prospective relief is intended to remedy the discriminatory conduct

  of the Defendants against him and others similarly situated. That is, Langer seeks relief to

  ensure that, in the future, the Defendants cannot seize upon the vague “fitness to practice law”

  criterion to exclude or otherwise discriminate against applicants with disabilities. Because

  Langer’s Amended Complaint requests only prospective relief, the Defendants’ argument that his

  claims are precluded by the Eleventh Amendment is moot.

                                           CONCLUSION

         For the reasons stated above, this Court should deny Defendants’ Motion to Dismiss.


         Respectfully submitted this 10th day of August, 2022.




                                                                /s/ Gregory Brown
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 10th day of August, 2022, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt including, but not limited to, those
  identified below. Parties may access this filing through the Court’s electronic filing system.

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